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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                 )
SUSMAN GODFREY LLP,                              )
                                                 )
            Plaintiff                            )          Civil Action
                                                 )          No. 1:25-cv-1107 (LLA)
                                                 )
                                                 )
                          v.                     )
                                                 )
EXECUTIVE OFFICE                                 )
OF THE PRESIDENT, et al                          )
                                                 )
            Defendants.                          )
                                                 )

               [PROPOSED] ORDER GRANTING THE MOTION OF
            LAWYERS DEFENDING AMERICAN DEMOCRACY LEAVE
   TO FILE A BRIEF AS AMICUS CURIAE IN SUPPORT OF PLAINTIFF’S MOTION
                FOR SUMMARY JUDGMENT AND DECLARATORY
                    AND PERMANENT INJUNCTIVE RELEF

        Upon consideration of the Motion of Lawyers Defending American Democracy for Leave

To File A Brief As Amicus Curiae in Support of Plaintiff, and the lack of any opposition thereto,

it is hereby:

        ORDERED that the motion of Lawyers Defending American Democracy for leave to file

its amicus brief is GRANTED and the Clerk of the Court shall accept the amicus brief attached

to the motion as filed April 24, 2025, nunc pro tunc.

        SO ORDERED this __ day of April 2025

                                                            __________________
                                                            LOREN L. ALIKHAN
                                                            United States District Judge
